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                          UNITED STATES DISTRICT COURT
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                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
10   Terry H. 1;                     Case No.: 2:20-cv-05103-MWF-AGR
11
                  Plaintiff;                      [PROPOSED] ORDER
12                                                AWARDING EQUAL ACCESS
           vs.                                    TO JUSTICE ACT ATTORNEY
13
     Andrew Saul, Commissioner of Social          FEES, PURSUANT TO 28 U.S.C. §
14   Security;                                    2412(d.
15
           Defendant.
16

17         TO ALL PARTIES AND ATTORNEYS OF RECORD:
18         Based upon the parties’ Stipulation for the Award and Payment of Equal
19   Access to Justice Act Fees and Costs / Expenses, IT IS ORDERED that fees in the
20   amount of $3,823.15 as authorized by 28 U.S.C. § 2412 be awarded subject to the
21   terms of the Stipulation.
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     Dated: 0D\  
23                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            HONORABLE ALICIA G. ROSENBERG
24                                          United States Magistrate Judge
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27   1
      Partially redacted in compliance with Federal Rule of Civil Procedure
28   5.2(c)(2)(B) and the recommendation of the Committee on Court Administration
     and Case Management of the Judicial Conference of the United States.
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                 ORDER FOR AWARD AND PAYMENT OF ATTORNEY FEES (EAJA)
                       Terry H. v. Commissioner Social Security Administration
